              Case 2:10-cr-00347-DAD Document 117 Filed 03/22/11 Page 1 of 4


     JOHN R. MANNING (SBN 220874)
1    ATTORNEY AT LAW
2
     1111 H Street, # 204
     Sacramento, CA. 95814
3    CR-S-09-380 WBS
     Fax (916) 447-0931
4

5
     Attorney for Defendant
     NAVPREET SINGH
6
                            IN THE UNITED STATES DISTRICT COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                     )       No. CR-S-10-347 MCE
10
                                                   )
                                                   )
            Plaintiff,                             )       STIPULATION AND ORDER
11
                                                   )       CONTINUING STATUS CONFERNCE
     v.                                            )
12
                                                   )       Judge: Hon. Morrison C. England, Jr.
     DISHAN PERERA et al.,                         )
13
                                                   )
14
                                                   )
            Defendants.                            )
                                                   )
15
                                                   )
                                                   )
16

17

18
            IT IS HEREBY stipulated between the United States of America through its undersigned
19
     counsel, Todd D. Leras, Assistant United States Attorney, together with counsel for defendant
20
     Dishan Perera, Alan Baum, Esq., counsel for defendant Jeremy Gachago, Michael L. Chastaine,
21
     Esq., counsel for defendant Ramiro Garcia, Christopher R. Cosca, Esq., counsel for defendant
22
     Love Deep Singh Sidhu, Christopher Haydn-Myer, Esq., counsel for defendant Leonard
23
     Woodfork, Olaf W. Hedberg, Esq., counsel for defendant Jason Cavileer, Dan F. Koukol, Esq.,
24
     counsel for defendant Michael Tran, Michael D. Long, Esq., counsel for defendant Navpreet
25

26
     Singh, John R. Manning, Esq., counsel for defendant Imesh Perera, Mark Waecker, Esq., counsel

27   for defendant Navjot Singh, Mark J. Reichel, Esq., and counsel for defendant Torey Moore,

28




                                                       1
              Case 2:10-cr-00347-DAD Document 117 Filed 03/22/11 Page 2 of 4



1    Shari Rusk, Esq., that the status conference presently set for March 17, 2011 be continued to
2    April 28, 2011, at 9:00 a.m., thus vacating the presently set status conference.
3           This is a complex case involving voluminous discovery and a large amount of evidence
4
     therefore the parties request further time to review discovery and complete investigation.
5
     Counsel for the parties therefore agree that this is an appropriate exclusion of time within the
6
     meaning of Title 18, United States Code § 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
7
     time for effective preparation) and Local Code T4, and agree to exclude time from the date of the
8
     filing of the order until the date of the status conference April 28, 2011.
9
     IT IS SO STIPULATED
10
     Dated: March 14, 2011                                  /s/ Alan Baum
11                                                          ALAN BAUM
                                                            Attorney for Defendant
12
                                                            Dishan Perera
13
     Dated: March 14, 2011                                  /s/ Michael L. Chastaine
14                                                          MICHAEL L. CHASTAINE
                                                            Attorney for Defendant
15                                                          Jeremy Gachago
16   Dated: March 14, 2011                                  /s/ Christopher R. Cosca
17
                                                            CHRISTOPHER R. COSCA
                                                            Attorney for Defendant
18                                                          Ramiro Garcia
19   Dated: March 14, 2011                                  /s/ Christopher Haydn-Myer
                                                            CHRISTOPHER HAYDN-MYER
20                                                          Attorney for Defendant
21
                                                            Love Deep Singh Sidhu
     Dated: March 14, 2011                                  /s/ Olaf W. Hedberg
22
                                                            OLAF W. HEDBERG
23                                                          Attorney for Defendant
                                                            Leonard Woodfork
24
     Dated: March 14, 2011                                  /s/ Dan F. Koukol
25
                                                            DAN F. KOUKOL
26                                                          Attorney for Defendant
                                                            Jason Cavileer
27

28




                                                       2
             Case 2:10-cr-00347-DAD Document 117 Filed 03/22/11 Page 3 of 4



1    Dated: March 14, 2011                     /s/ Michael D. Long
                                               MICHAEL D. LONG
2
                                               Attorney for Defendant
3                                              Michael Tran

4    Dated: March 14, 2011                     /s/ John R. Manning
                                               JOHN R. MANNING
5
                                               Attorney for Defendant
6                                              Navpreet Singh

7    Dated: March 14, 2011                     /s/ Mark Waecker
8
                                               MARK WAECKER
                                               Attorney for Defendant
9                                              Imesh Perera
10   Dated: March 14, 2011                     /s/ Shari Rusk
11
                                               SHARI RUSK
                                               Attorney for Defendant
12                                             Torey Moore
13
     Dated: March 14, 2011                     /s/ Mark J. Reichel
14                                             MARK J. REICHEL
                                               Attorney for Defendant
15                                             Navjot Singh
16

17
     Dated: March 14, 2011                     Benjamin B. Wagner
18                                             United States Attorney
19

20                                             by: /s/ Todd D. Leras
                                               TODD D. LERAS
21                                             Assistant United States Attorney
22

23

24

25

26

27

28




                                           3
              Case 2:10-cr-00347-DAD Document 117 Filed 03/22/11 Page 4 of 4


     JOHN R. MANNING (SBN 220874)
1    ATTORNEY AT LAW
2
     1111 H Street, # 204
     Sacramento, CA. 95814
3    (916) 444-3994
     Fax (916) 447-0931
4

5
     Attorney for Defendant
     NAVPREET SINGH
6
                             IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                      ) No. CR-S-10-347 MCE
10
                                                    )
                                                    )
            Plaintiff,                              ) ORDER TO
11
                                                    ) CONTINUE STATUS CONFERNCE
     v.                                             )
12
                                                    )
     DISHAN PERERA et al.,                          )
13
                                                    )
14
                                                    )
            Defendants.
15
            GOOD CAUSE APPEARING, it is hereby ordered that the March 17, 2011 status
16
     conference be continued to April 28, 2011 at 9:00 a.m. I find that the ends of justice warrant an
17
     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
18
     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
19
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
20
     Local Code T4 from the date of this order to April 28, 2011.
21
            IT IS SO ORDERED.
22
     DATED: March 21, 2011
23

24                                            _______________________________________
25
                                              MORRISON C. ENGLAND, JR.
                                              UNITED STATES DISTRICT JUDGE
26

27

28




                                                     4
